10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Jeffrey Cox (26953)
Dwayne Farnsworth (13209)
COX LAW OFFICES

P.O. Box 2324

Gilbert, Arizona 85299
Tel:(480) 820-3600

E-Mail: farnsworthcourt@gmail.com

 

Attorney for Debtor
UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF ARIZONA
In re ) In Proceedings Under
) Chapter Seven
DANIELLE KRISTINE LAFATA, )
) Case No. 2:19-bk-04795-PS
)
Debtor. )
DANIELLE KRISTINE LAFATA, )
)
Movant, ) MOTION TO AVOID
vs. ) JUDGEMENT LIEN
) IMPAIRING DEBTOR’S
D&J CONSTRUCTION SERVICES, LLC, ) EXEMPTION UNDER
) 11 U.S.C. 522(H
Respondent. )
)

 

1. Movant filed her Chapter 7 Bankruptcy on April 22, 2019.

2. Judgment was obtained in the Superior Court of Maricopa County, in favor of the
Respondent and against the Movant under case number CV2017-006743.

3. Said judgement is in the amount of $90,561.48 including costs and fees.

4. The Respondent, D&J CONSTRUCTION SERVICES, LLC, has
recorded a Judgement Lien with the County Recorder of Maricopa County, on December 1,
2017, Recording No: 20170891664. See attached Exhibit “A”.

5. Said lien is a Judicial Lien and avoidable under 11 U.S.C. Section 522(f).

6. This lien will impair exemptions to which the Debtor is entitled, under 11 U.S.C.

Section 522 (f)(1), if not avoided.
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

WHEREFORE, Movant respectfully asks this court:

a) For an order avoided the judgment lien recorded with the Recorder of Maricopa
County, on December 1, 2017, Recording No: 20170891664;

b) that each party to bear their own fees and costs;

c) for such other and further relief as this Court deems just and equitable.

DATED this 5" day of _June_, 2019.

 

COX LAW OFFICES

/s/ Dwayne Farnsworth #13209
Dwayne Farnsworth

Jeffrey Cox
Attorney for Debtor
EXHIBIT “A”
 

When Recorded return to:

James D. Sparks, Esq.
Sparks Law Group, PLLC
One N. 1" Street, Suite 795
Phoenix, Arizona 85004

 

WilUlliGidl
2Document

Bo Ali [17

20170891 COF

JUDGMENT INFORMATION SHEET

 

Name and last known address of the
Judgment Debtor(s):

MICHAEL LAFATA
3509 N. 32ND? ST.
PHOENIX, AZ 85234

DANIELLE LAFATA
3509 N. 32ND ST.
PHOENIX, AZ 85234

FOX REMODELING
3509 N. 322 ST.
PHOENIX, AZ 85234

Address of Judgment Creditor:

D&J CONSTURCTION SERVICES, LLC
c/o Sparks Law Group, PLLC

One N. 1" Street, Suite 795

Phoenix, Arizona 85004

 

Address at which Judgment Debtor
received service of the summons and
Complaint:

MICHAEL LAFATA
3509 N. 32%? ST.
PHOENIX, AZ 85234

DANIELLE LAFATA
3509 N. 32D ST.
PHOENIX, AZ 85234

FOX REMODELING
3509 N. 32%? ST,
PHOENIX, AZ 85234

 

 

Judgment Debtor’s Social Security
Number:

Unknown

 

 
 

Amount of the Judgment or decree: Date of Birth: Driver License
Number:

$95,883.33, plus post-judgment interest, | Unknown
costs and attorneys’ fees. Unknown

 

 

Stay Of Enforcement Ordered By Court? | Date Stay of
Enforcement
No. Expires?

N/A

 

 

 

Unoficial Document

 
oon oak W DN =

NN NH WR PRON NM ND RB eB ea set
SBNBRREBRBESSarRDaROaAN AS

FILED,
OCT Te
ICHAEL K. JEANES, Cl

ob Deputy

SPARKS LAW GROUP, PLLC
James D. Sparks, #028006

One N. 1° St, Suite 795

Phoenix, Arizona 85004

Ph: (602) 529-3339

Fax: (602) 529-3337

isparks@sparksle.com
Attorney for Plaintiff

IN THE SUPERIOR COURT FOR THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

D&J CONSTRUCTION SERVICES, LLC, an
Arizona limited liability company,

Case No.: CV2017-006743
Plaintiff;
JUDGMENT

VS.

MICHAEL LAFATA and JANE DOE
LAFATA, husband and wife; FOX Unoficia! Docimert
REMODELING, LLC, an Arizona limited
liability company; JOHN DOES I-X; JANE
DOES I-X; ABC CORPORATIONS I-X; and
BLACK PARTNERSHIPS I-X; and WHITE
LIMITED LIABILITY COMPANIES I-X,

Defendants.

 

 

 

 

This matter having come before the Court on Plaintiffs Motion for Entry of Default
Judgment, and for the reasons set forth therein,

IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff D&J CONSTRUCTION
SERVICES, LLC has judgment against Defendants MICHAEL LAFATA, DANIELLE
LAFATA, and FOX REMODELING, LLC as follows:

1. $85,349.28 for general damages.

2. $839.70 for costs.

| *

 
ooaono on & WD —

Nh BD AD ORD ORD ORD ORD OAD OD me ee mk mk wk at a ket
on DO mh WDWNH |] CO oO WAN A OH AB WD DH — CO

 

 

. Attorneys’ fees in the amount of $4,372.50.
. Pre-Judgment interest in the amount of $10,534.05.
. Interest on the foregoing amounts from the date of the Judgment at the rate of 1.5% per

annum until paid in full.

. All attorneys’ fees and costs incurred in post-judgment collection efforts.
. ITIS FURTHER ORDERED pranting Plaintiff an equitable lien on the Properties

listed in the Complaint and in the following amounts:

      

a. Street Address: 1903 N. Georgia Ave., Phoenix, AZ 85015
Parcel#: 153-23-061A,
Amount: $52-536-6
Legal Description:

Lot 1, Block 5, MISSOURI PARK WAY, according to Book 47 of Maps, page
46, records of Maricopa County, Arizona;

EXCEPT THERFROM 2 part of said Lot 1, Block 5 of Missouri Parkway
Subdivision as recorded in Rok 47 of Maps, Page 46 and is located in the

Unofficial Document

Southeast Quarter (SE 1/4) of Section 13, Township 2 North, Range 2 East of the
Gila and Salt River Base and Meridian, Maricopa County, Arizona, more
particularly described as follows:

COMMENCING at the East Quarter Corner of Section 13, said point also being
the intersection of 19th Avenue and Missouri Avenue;

Thence South 00 degrees 42 minutes 47 seconds West, along the East line of
Section 13 and the centerline of 19" Avenue, a distance of 846.67 feet;

Thence North 89 degrees 17 minutes 13 seconds West, a distance of 40.09 feet to
the POINT OF BEGINNING;

Thence South 00 degrees 42 minutes 47 seconds West, a distance of 80.13 feet;

Thence South 89 degrees 30 minutes 38 seconds West, a distance of 11.30 feet;
Thence North 02 degrees 50 minutes 17 seconds East, a distance of 96.50 feet;

 
oO On OA & CO NH =

N NM Nh NM Mt ON NM NM Be ee Be ee
on oO Om Aa WwW ND |] OO HO Omn~ On & WOW NY = G

 

 

Thence North 43 degrees 42 minutes 33 seconds West, a distance of 8.03 feet to
the beginning of a non-tangent curve whose 24.48 foot radius bears South 27
degrees 48 minutes 05 seconds West and is concave Southwesterly;

Thence Southeasterly, along said curve, through a central angle of 62 degrees 54
minutes 42 seconds, a distance of 26.88 feet to the POINT OF BEGINNING.

. Street Address: 1904 W. Oregon Ave., Phoenix, AZ 85015

Parcel #: 153-23-074A
Amount:
Legal Description:

Lot 14, Block 5, MISSOURI PARK WAY, according to Book 47 of Maps, page
46, records of Maricopa County, Arizona.

EXCEPT THEREFROM A portion of said Lot 14, Block 5 of Missouri Parkway
Subdivision as recorded in Book 47 of Maps, Page 46, located in the Southeast
Quarter (SE 1/4) of Section 13, Township 2 North, Range 2 East of the Gila and
Salt River Base Meridian, Maricopa County, Arizona, more particularly
described as follows:

Unofficlal Cacumen

COMMENCING at the Soutneast'Comer of Section 13, said point also being the
intersection of 19th Avenue and Camelback Road;

Thence North 00 degrees 42 minutes 47 seconds Bast, along the East line of said
Section 13 and the centerline of 19th Avenue; a distance of 1610.40 feet;

Thence North 89 degrees 17 minutes 13 seconds West, a distance of 61.95 feet to
the POINT OF BEGINNING;

Thence North 45 degrees 14 minutes, 05 seconds East, a distance of 10.99 feet;
Thence North 00 degrees 41 minutes 35 seconds East, a distance of 20.06 feet;
Thence North 02 degrees 50 minutes 17 seconds East, a distance of 77.31 feet;

Thence North 89 degrees 30 minutes 38 seconds East, a distance of 11.30 feet;

 
oan @ ah WwW nN

NM NHR HY DY YD DN |= Se Ft Fe FP Fe ft se
outdwowk BON = oo On Oa & WH = 2

 

 

Thence South 00 degrees 42 minutes 47 seconds West, a distance of 80.13 feet to
the beginning of a tangent curve having a 25.53 foot radius and is concave
Northwesterly;

Thence Southwesterly, along said curve, through a central angle of 81 degrees 43
minutes 38 seconds, a distance of 36.42 feet to the POINT OF BEGINNING.

c. Street Address: ' 1742 E. Cheery Lynn Rd., Phoenix, AZ 85016
Parcel#: 119-32-068
Amount: $23,633.33
Legal Description:

LOT 1 AND THE EAST HALF OF LOT 2, VICTORIA HEIGHTS,
ACCORDING TO BOOK 27 OF MAPS, PAGE 20, RECORDS OF

MARICOPA COUNTY, ARIZONA.
d. Street Address: 4210 N. 11" St., Phoenix, AZ 85014
Parcel#: 155-16-039
Amount: $9,190.00
Legal Description:

Unofficial Document

THAT PART OF THE SOUTHEAST QUARTER OF THE SOUTHWEST
QUARTER OF SECTION 21, TOWNSHIP 2 NORTH, RANGE 13 EAST OF
THE GILA AND SALT RIVER BASE AND MERIDIAN, MARICOPA
COUNTY, ARIZONA, DESCRIBED AS FOLLOWS:

BEGINNING 667 FEET NORTH OF A POINT 694.78 FEET WEST OF THE
SOUTHEAST CORNER OF THE SOUTHWEST QUARTER OF SAID
SECTION 21; THENCE RUNNING WEST 172.75 FEET; THENCE NORTH
75 FEET; THENCE EAST 172.75 FEET; THENCE SOUTH 75 FEET TO THE
POINT OF BEGINNING.

8. There being no cause for delay, Judgment shall be entered forthwith pursuant to

ARC. 54(6).
Coteber
DONE IN OPEN COURT this _/Z day of- August, 2017.

  
    

the Superior Court
ommissioner David W. Garbarinn

4

 
Unofficial Document

The fetagaing meirument is a full, true And correct copy of

the original M7 te
itest ey TON I 26
a e

 
VUIOICIAal

 

 

Great American Title Agency
zeDocument
RECORDING REQUESTED BY
GREAT AMERICAN TITLE AGENCY
AND WHEN RECORDED MAIL TO: 54
Ga.
ESCROW NO.: 00549827
4y SPACE ABOVE THIS LINE FOR RECORDER’S USE
Partial Release of Judgment

The Plaintiff does hereby release its judgment lien only as to the following described property from that certain
Judgment entered October 12, 2017 in Maricopa County Superior Court Case No. CV2017-006743 in favor of D&J
Construction Services, LLC, an Arizona limited liability company, Plaintiff, and against Michael Lafata,
Danielle Lafata and Fox Remodeling, LLC, Defendants, recorded December 1, 2017 in Instrument No.
20170891664, in the official Records of the County Recorder’s Office.

Lot 3, Bleck 6, WEST IDLEWILDE, according to the Plat of record in the office of the County Recorder of
Maricopa County, Arizona, recorded in Book 20 of Maps, Page 25.

The Judgment is not satisfied and the Judgment lien is not released as to the Judgment Defendants’ interests in any
other real property.

Dated this/¢74_ day of January, 2018

Attorney for D&J Construction Services, LLC, an
Arizona limited liability company:
Sparks Law Group, PLLC.

 

 

State of Arizona } ss This instrument was acknowledged before me this 10%
County of Maricopa “y of January, 2018
James D. Sparks

 

JENNIFER L DELNERO LO ~~ Nh Md A hhen LO

Fase, Notary Public - Arizona ee
Ure & Maricopa County G
| pe My Comm. Expires Oct 29, 2019 ssion will expire ‘nt aer ee D [

 
